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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 22-cv-3829
                                                            :
 v.                                                         :   COMPLAINT FOR VIOLATIONS OF
                                                            :   SECTIONS 14(a) AND 20(a) OF THE
 AMERICAN CAMPUS COMMUNITIES,                               :   SECURITIES EXCHANGE ACT OF
 INC., WILLIAM C. BAYLESS, JR.,                             :   1934
 HERMAN E. BULLS, G. STEVEN                                 :
 DAWSON, CYDNEY C. DONNELL, MARY                            :   JURY TRIAL DEMANDED
 C. EGAN, ALISON M. HILL, CRAIG A.                          :
 LEUPOLD, OLIVER LUCK, C. PATRICK                           :
 OLES, JR., JOHN T. RIPPEL,                                 :
                                                            :
                   Defendants.                              :
 --------------------------------------------------------   :

        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against American Campus Communities, Inc.

(“ACC or the “Company”) and the members ACC’s board of directors (the “Board” or the

“Individual Defendants” and collectively with the Company, the “Defendants”) for their violations

of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15

U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9 and 17 C.F.R. § 244.100, in

connection with the proposed acquisition of ACC by affiliates of Blackstone Real Estate Income

Trust, Inc. (“Blackstone”).

        2.       Defendants have violated the above-referenced sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A
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(the “Proxy Statement”) to be filed on May 10, 2022 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders.                    The Proxy

Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby the Company will merge with and into Abacus Merger Sub I LLC (“Merger Sub”), a

wholly-owned subsidiary of Abacus Parent LLC, an affiliate of Blackstone, with Merger Sub as

the surviving entity (the “Proposed Transaction”). Pursuant to the terms of the definitive agreement

and plan of merger the companies entered into on April 18, 2022 (the “Merger Agreement”), each

ACC stockholder will receive $65.47 in cash (the “Merger Consideration”) for each ACC share

owned.

         1.       As discussed below, Defendants have asked ACC’s stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Proxy Statement, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Proxy Statement contains materially incomplete and misleading

information concerning the analyses performed by the Company’s financial advisor, BofA

Securities, Inc. (“BofA”) in support of its fairness opinions.

         2.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

         3.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to ACC’s stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.




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                                  JURISDICTION AND VENUE

        4.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        5.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        6.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the Company trades on the New York Stock

Exchange, headquartered in this District, and Blackstone and Merger Sub and other affiliates are

headquartered in this District.

                                              PARTIES

        7.       Plaintiff is, and has been at all relevant times, the owner of ACC stocks and has

held such stocks since prior to the wrongs complained of herein.

        8.       Individual Defendant William C. Bayless, Jr., a co-founder of the Company, has

served as a member of the Board since 2004 and is the Chief Executive Officer of the Company.

        9.       Individual Defendant Herman E. Bulls has served as a member of the Board since

2021.

        10.      Individual Defendant G. Steven Dawson has served as a member of the Board since

2004.

        11.      Individual Defendant Cydney C. Donnell has served as a member of the Board

since 2004.


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        12.     Individual Defendant Mary C. Egan has served as a member of the Board since

2018.

        13.     Individual Defendant Alison M. Hill has served as a member of the Board since

2021.

        14.     Individual Defendant Craig A. Leupold has served as a member of the Board since

2021.

        15.     Individual Defendant Oliver Luck has served as a member of the Board since 2012.

        16.     Individual Defendant C. Patrick Oles, Jr. has served as a member of the Board since

2014.

        17.     Defendant ACC is a Maryland corporation and maintains its principal offices at

12700 Hill Country Blvd., Suite T-200, Austin, TX 78738. The Company’s stock trades on the

New York under the symbol “ACC.”

        18.     The defendants identified in paragraphs 10-16 are collectively referred to as the

“Individual Defendants” or the “Board.”

        19.     The defendants identified in paragraphs 10-17 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction

        20.     ACC is the largest owner, manager and developer of high-quality student housing

communities in the United States. The Company is a fully integrated, self-managed and self-

administered equity real estate investment trust (REIT) with expertise in the design, finance,

development, construction management and operational management of student housing

properties. As of September 30, 2020, American Campus Communities owned 166 student

housing properties containing approximately 111,900 beds. Including its owned and third-party


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managed properties, ACC’s total managed portfolio consisted of 204 properties with

approximately 139,900 beds.

       21.     On April 19, 2022, the Company and Blackstone jointly announced the Proposed

Transaction:


               Austin, Texas and New York – April 19, 2022 – American
               Campus Communities, Inc. (NYSE: ACC) (“ACC” or the
               “Company”), the largest developer, owner and manager of
               high-quality student housing communities in the United States,
               today announced that it has entered into a definitive agreement
               under which Blackstone Core+ perpetual capital vehicles,
               primarily comprised of Blackstone Real Estate Income Trust,
               Inc. (“BREIT”), alongside Blackstone Property Partners
               (“BPP”), will acquire all outstanding shares of common stock
               of ACC for $65.47 per fully diluted share in an all-cash
               transaction valued at approximately $12.8 billion, including
               the assumption of debt.

               The purchase price represents a premium of 22 percent to the
               90-calendar day volume-weighted average share price ending
               April 18, 2022, a premium of 30 percent over the closing stock
               price of February 16, 2022, the date immediately prior to the
               Company disclosing receipt of an indication of willingness to
               offer to acquire the Company, and a 14 percent premium to
               yesterday’s closing price.

               ACC’s portfolio comprises 166 owned properties in 71 leading
               university markets including Arizona State University, The
               University of Texas at Austin, Florida State University, and the
               University of California – Berkeley, among many others. The
               majority of ACC’s properties are high-quality, purpose-built
               student housing assets located within walking distance of their
               respective university campuses, with approximately 24 percent
               of ACC’s communities located on campus.

               “Through our IPO, eighteen years ago, we began our
               pioneering quest to transform the student housing sector into a
               mainstream, institutional asset class within the commercial real
               estate sector,” said Bill Bayless, American Campus
               Communities Co-founder & Chief Executive Officer. “We
               have certainly accomplished that mission and are proud and
               excited to have our best-in-class company join Blackstone, the



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    world’s largest alternative asset manager. This announcement
    represents the culmination of the passion and dedicated service
    of the ACC team to our student residents and university
    partners, while creating significant value for our shareholders.”

    Bayless continued, “This transaction delivers compelling,
    immediate, and certain value to our shareholders while
    positioning ACC to further expand our competitive advantage
    as we continue in our quest to lead the student housing industry
    to new heights. Blackstone’s expertise, resources and
    consistent access to capital will allow us to rapidly leverage
    our platform and core competencies to entrepreneurially grow
    our core business and to pursue additional innovative
    opportunities. Moving forward together, the combined
    synergies of our organizations will enable us to better serve our
    current and future residents and university partners.”

    Jacob Werner, Co-Head of Americas Acquisitions for
    Blackstone Real Estate, said, “American Campus Communities
    has a best-in-class portfolio and platform, built on
    longstanding relationships with some of the most distinguished
    and fastest growing universities in the country. Our perpetual
    capital will enable ACC to invest in its existing assets and
    create much-needed new housing in university markets. We’re
    excited to work with the ACC team to deliver communities
    where students love living.”

    The transaction has been unanimously approved by ACC’s
    Board of Directors and the independent Special Committee of
    ACC’s Board and is expected to close in the third quarter of
    2022, subject to approval by ACC’s shareholders and other
    customary closing conditions.

    As a condition to the transaction, ACC has agreed to suspend
    payment of its quarterly dividend, effective immediately.

    As a result of today’s announcement, ACC does not expect to
    host a conference call and webcast to discuss its financial
    results for the quarter ended March 31, 2022.

    Advisors
    BofA Securities is serving as ACC’s lead financial advisor.
    KeyBanc Capital Markets Inc. is also acting as a financial
    advisor. Dentons US LLP is serving as the Company’s legal
    counsel.




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               Wells Fargo Securities LLC, J.P. Morgan Securities LLC and
               TSB Capital Advisors are serving as Blackstone’s financial
               advisors, and Simpson Thacher & Bartlett LLP is acting as
               Blackstone’s legal counsel.

                                               ***

       22.     The Board has unanimously agreed to the Proposed Transaction. It is therefore

imperative that ACC’s stockholders are provided with the material information that has been

omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       23.     On May 10, 2022, ACC filed the Proxy Statement with the SEC in connection with

the Proposed Transaction. The Proxy Statement was furnished to the Company’s stockholders and

solicits the stockholders to vote in favor of the Proposed Transaction. The Individual Defendants

were obligated to carefully review the Proxy Statement before it was filed with the SEC and

disseminated to the Company’s stockholders to ensure that it did not contain any material

misrepresentations or omissions. However, the Proxy Statement misrepresents and/or omits

material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Financial Projections

       24.     The Proxy Statement fails to provide material information concerning financial

projections by ACC management and relied upon by BofA in its analyses. The Proxy Statement

discloses management-prepared financial projections for the Company which are materially

misleading. The Proxy Statement indicates that in connection with the rendering of its fairness

opinion, that the Company prepared certain non-public financial forecasts (the “Company



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Projections”) and provided them to the Board and BofA with forming a view about the stand-alone

valuation of the Company. Accordingly, the Proxy Statement should have, but fails to provide,

certain information in the projections that ACC management provided to the Board and BofA.

Courts have uniformly stated that “projections … are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or []

market multiples. What they cannot hope to do is replicate management’s inside view of the

company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.

Ch. 2007).

       25.     For the Company Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: Net Operating Income, EBITDA,

Unlevered Free Cash Flow, and FFOM (funds from operations modified), but fails to provide a

reconciliation of the non-GAAP metrics to their most comparable GAAP measures, in direct

violation of Regulation G and consequently Section 14(a).

       26.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       27.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.



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               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.1

       28.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measures to the most comparable

GAAP measures to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Financial Analyses

       29.     With respect to BofA’s Publicly Traded Company Analysis, the Proxy Statement

fails to disclose the financial metrics for each company selected for the analysis.

       30.     With respect to BofA’s Selected Precedent Transaction Analysis, the Proxy

Statement fails to disclose the financial metrics for each transaction selected for the analysis,

including: (i) the enterprise value of each transaction and (ii) each target company’s estimated

NTM EBITDA.

       31.     With respect to BofA’s Discounted Cash Flow Analysis, the Proxy Statement fails

to disclose: (i) the terminal values for ACC; (ii) the inputs and assumptions underlying the use of

range of terminal multiples of 20.0x to 24.0x (iii) the inputs and assumptions underlying the use

of the growth rate of 3.5%; (iv) the inputs and assumptions underlying the use of the discount rates




1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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of 7.50% to 9.00%; and (v) the Company’s weighted average cost of capital and the inputs used

for its calculation.

          32.   With respect to BofA’s research analysts analysis, the Proxy Statement fails to

disclose the fourteen Wall Street research analysts and their estimated net asset value per share

range for the Company.

          33.   With respect to BofA’s premia paid analysis, the Proxy Statement fails to disclose

the transactions selected and the premia paid for those transactions.

          34.   In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          35.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          36.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.



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       37.     Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, the financial

projections that were prepared by the Company and relied upon by the Board in recommending

the Company’s stockholders vote in favor of the Proposed Transaction.

       38.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

       39.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives.

       40.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate




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remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          41.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          42.   The Individual Defendants acted as controlling persons of ACC within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as directors of

ACC, and participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the incomplete and misleading statements contained in the Proxy Statement filed

with the SEC, they had the power to influence and control and did influence and control, directly

or indirectly, the decision making of ACC, including the content and dissemination of the various

statements that Plaintiff contends are materially incomplete and misleading.

          43.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          44.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of ACC, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue contains




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the unanimous recommendation of the Board to approve the Proposed Transaction. The Individual

Defendants were thus directly involved in the making of the Proxy Statement.

       45.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       46.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       47.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       48.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;


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          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

 Dated: May 11, 2022                                MELWANI & CHAN LLP

                                               By: /s/ Gloria Kui Melwani
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